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IN THE UNITED sTATEs DISTRICT CoURT 'Fll-ED B'f .- D‘O-
FoR THE wEsTERN DIsTRIcT oF TENNESSEE
WESTERN DIvlsIoN 05 JUL 27 PH lZ= 26
MARY T. GoDwIN, Tl{)t.th$ lt GOU\D
§ CLEK \,:.`S. D€TR!_C;P%§\BT
t ':`:\f '.`_.,l\
Plainriffs, ) WM § . t itt
)
v. ) No. 02-2532 D/An
)
cHARLEs P. BAKER )
afb/a BAKER PROPERTIES, )
)
Defendant. )
oRDER

 

Before the Court is Pla.intiff’ s Motion for Rule 37 Sanctions and/or for An Order to Show
Cause filed on March 16, 2005. United States District Judge Bernice B. Donald referred this
matter to the Magistrate Judge for detennination, and the Court held a hearing on this matter on
July 21, 2005.

On September 16, 2004, Plaintiff served discovery requests on Defendant, and Defenda.nt
failed to timely respond to these requests Plaintiff then filed a Motion to Cornpel with the
Court, and-v the Undersigned granted the Motion to Compel on January 12, 2005. Defendant has
still not responded to the discovery requests; therefore, Plaintiff filed the instant Motion for
Sanctions With the Court.

On July 11, 2005, counsel for the Plaintiff filed a document with the Court entitled
“Acknowledgment of Receipt of Charles P. Baker” (the “Acknowledgment”). The

Acknowledgment states that Defendant is now represented by counsel, Mr. Norman Hagemeyer,

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Thls document entered on the dockets t 1 0 ce
wi:h Flu£e 58 and/or 79(a) FF§CF' on j

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and that Defendant has been provided copies of multiple documents, including Plaintiff"s
discovery requests and numerous other motions and Orders.1 The Acl<nowledgment further
states that Defendant “acknowledges that a Show Cause Hearing is set for Thursday, July 21,
2005 at lO:30 a.m.” Neither Defendant or Mr. Hagemeyer, however, appeared for the hearing2

Therefore, after due consideration, Def`endant is ORDERED to completely respond to
Plaintiff’s lnterrogatories and Requests for Production of Documents within ll days of entry of
this Order. Defendant is reminded that the failure to comply with an Order of the Court can be
grounds for the imposition of sanctions Additionally, the Court will reserve ruling on Plaintiff’ s
request for sanctions and/or for an Order to Show Cause until after Plaintiff" s counsel has had the
opportunity to depose the Defendant.

Mr. Hagerneyer is also ORDERED to file a Notice of Appearance with the Clerk of the
Court within 5 days of entry of this Order, and the Clerk of the Court is ORDERED to correct
the Defendant’s address to the address reflected in the Aclmowledgrnent. The Defendant shall be
required to provide written notice to the Court and to Plaintiff’s counsel if his mailing address
should change in the future.

Pursuant to the Order of Reference, any objections to this Order shall be made in writing

within ten days after service of this Order and shall set forth with particularity those portions of

 

lAt the hearing, Plaintiff`s counsel stated that he had spoken to Mr. Hagemeyer and that Mr. Hagemeycr
mailed a Notice of Appearance to Plaintif`f’s counsel; however, Mr. Hagemeyer has not filed a Notice of Appearance
with the Clerk of the Court.

2The docket sheet indicates that mail sent by the Court to Defendant has been returned as non-deliverable
Defendant, however, listed a new mailing address in the Acl<nowledgment.

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the Order objected to and the reasons for those objections

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

IT IS SO ORDERED.

Date: m 2c 10¢15/
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Notice of Distribution

This notice confirms a copy of` the document docketed as number 59 in
case 2:02-CV-02532 was distributed by f`aX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

